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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    CHARLESTON DIVISION


SANDRA HERSHBERGER, et al.

                                Plaintiffs,

v.                                                     CIVIL ACTION NO. 2:10-cv-00837

ETHICON ENDO-SURGERY, INC., et al.

                                Defendants.



                           MEMORANDUM OPINION AND ORDER

         On January 19, 2012, the parties in the above-styled civil action appeared before the Court

and addressed five pending motions in limine to limit or exclude the testimony of certain expert

witnesses. Evidence was presented, and the parties had full opportunity to examine and cross-

examine the experts at issue. For the reasons that follow, the motions in limine as to Drs. Ellis,

Maxwell, and Sullivan [Dockets 166, 170, and 175] are DENIED in their entirety. The motion in

limine as to Dr. David [Docket 173] is GRANTED IN PART and DENIED IN PART. Plaintiffs

moved to withdraw the motion in limine as to Dr. Brandon [Docket 293] at the hearing, and the

motion to withdraw will be GRANTED.

                    I. FACTUAL BACKGROUND & PROCEDURAL HISTORY

         Plaintiffs Sandra Hershberger and David Mitchell filed the instant action in the Circuit Court

of Kanawha County, West Virginia, on April 16, 2010. (Docket 1 at 1.) Plaintiffs seek

compensatory and punitive damages from Ethicon Endo-Surgery, Inc., and Johnson & Johnson

(“Defendants”) for negligence, strict liability, and breach of warranty related to an allegedly
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defective stapler used on Plaintiff Hershberger during surgery. (Docket 1-1 at 8-12.) Defendants

removed the action to federal court on June 17, 2010, on the basis of diversity of citizenship. (Id.)

The facts underlying the case are as follows.

         Plaintiff Sandra Hershberger1 underwent a colostomy surgery in September 2008. A

colostomy, or Hartmann’s procedure, severs the patient’s colon and reroutes the proximal, or upper,

portion outside of the patient’s body. On February 6, 2009, Plaintiff had surgery to reverse the

colostomy. A colostomy reversal involves re-connecting the patient’s colon to the rectum, which

is achieved by forming an “anastomosis,” or continuous connection, between the two structures.

The first surgery in February 2009 was unsuccessful and is the subject of this litigation. Due to the

failure of the first surgery, Plaintiff’s surgeons attempted to reverse the Hartmann’s procedure a

second time on February 6, 2009.2

         According to Plaintiff’s surgeons, the stapler manufactured by Defendants and used during

the first surgery was defective in that it was not loaded with staples. As such, they contend, the

surgery was a failure despite their proper execution of the colostomy reversal procedure. In contrast,

Defendants maintain that the stapler was loaded with staples and functioned properly during the

surgery. Defendants believe that the stapler safety was removed prior to or during its use and one

of the surgeons, Dr. Jain, prematurely and negligently fired the stapler. Throughout the course of

this litigation, Defendants have argued that radiology films of Plaintiff’s bowels clearly and

irrefutably demonstrate that surgeon negligence was the cause of the surgery’s failure. Defendants




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    Hereinafter, all references to “Plaintiff” are to Ms. Hershberger, not Mr. Mitchell.
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  The second surgery failed as well, although the surgeons admit that the failure was due solely to
their incorporating part of Ms. Hershberger’s bladder in the attempted anastomosis.

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have come forward with expert testimony of this nature. However, Plaintiff also has expert witness

interpretations of her radiology films, which dispute Defendants’ theory of the case. Plaintiff has

additionally produced the testimony of her surgeons, both of whom insist that the stapler was

properly utilized but failed.

        On August 24, 2011, the Court denied Defendants’ motion for summary judgment based on

the existence of material factual disputes. (Docket 271.) As of the filing of this Order, there remain

pending approximately twenty-five pretrial motions. Addressed in this Order are five of those

motions: (1) Plaintiff’s Motion in Limine to Exclude or Limit the Testimony of Dr. C. Neal Ellis,

Docket 166; (2) Defendants’ Motion in Limine to Limit the Testimony of Dr. Damian Maxwell,

Docket 170; (3) Defendants’ Motion in Limine to Limit the Testimony of Dr. Yadin David, Docket

173; (4) Defendants’ Motion in Limine to Limit the Testimony of Dr. James Sullivan, Docket 175;

and (5) Plaintiff’s Motion in Limine to Exclude the Testimony of Dr. Jeffrey Brandon, Docket 293.

                                         II. DISCUSSION

        All five motions in limine relate to the admissibility of expert opinions under Federal Rule

of Evidence 702. Pursuant to Federal Rule of Evidence 702,

        A witness who is qualified as an expert by knowledge, skill, experience, training, or
        education may testify in the form of an opinion or otherwise if: (a) the expert’s
        scientific, technical, or other specialized knowledge will help the trier of fact to
        understand the evidence or to determine a fact in issue; (b) the testimony is based on
        sufficient facts or data; (c) the testimony is the product of reliable principles and
        methods; and (d) the expert has reliably applied the principles and methods to the
        facts of the case.3



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   This version of Rule 702 went into effect on December 1, 2011. The previous version, on which
the parties rely, is virtually identical in substance, as the 2011 amendment was merely part of a
larger “restyling of the Evidence Rules to make them more easily understood and . . . consistent .
. . .” Fed. R. Evid. 702, advisory committee note to 2011 amends.

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Expert testimony is admissible under Rule 702 if (1) the testimony concerns “scientific, technical,

or other specialized knowledge” that (2) will “aid the jury or other trier of fact to understand or

resolve a fact at issue.” Westberry v. Gislaved Gummi AB, 178 F.3d 257 (4th Cir. 1999) (citing

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592 (1993)). The first prong requires that the

Court examine whether the reasoning or methodology underlying the expert’s proffered opinion is

reliable; the second prong requires the Court to evaluate whether the proffered testimony is relevant

to the issues in controversy. Daubert, 509 U.S. at 590-92, 597. In other words, Rule 702 assigns

to the trial judge the task of ensuring that an expert’s testimony both rests on a reliable foundation

and is relevant to the task at hand. Id. at 598. In assessing whether an expert’s opinion is

sufficiently reliable and relevant, the Court operates as a gatekeeper and conducts a flexible inquiry

focusing on the principles and methodology employed by the expert rather than the conclusions

reached. Id. at 594-95. The Court may consider:

       (1) whether the particular scientific theory “can be (and has been) tested”; (2)
       whether the theory “has been subjected to peer review and publication”; (3) the
       “known or potential rate of error”; (4) the “existence and maintenance of standards
       controlling the technique's operation”; and (5) whether the technique has achieved
       “general acceptance” in the relevant scientific or expert community.

United States v. Crisp, 324 F.3d 261, 266 (4th Cir. 2003) (quoting Daubert, 509 U.S. at 593-94);

see also Fed. R. Evid. 702, advisory committee note to 2000 amends.

       Although the Court’s inquiry “must be solely on the principles and methodology [on which

an expert relies], not on the conclusions that they generate,” Daubert, 509 U.S. at 595, the Court

may nonetheless conclude that “there is simply too great an analytical gap between the data and the

opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (“[N]othing in either

Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence that is


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connected to existing data only by the ipse dixit of the expert.”). However, as the Supreme Court

in Daubert stated, “[v]igorous cross-examination, presentation of contrary evidence, and careful

instruction on the burden of proof are the traditional and appropriate means of attacking shaky but

admissible evidence.” 509 U.S. at 595; cf. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 150-51

(1999) (emphasizing that trial judges are entitled to broad discretion when discharging their

gatekeeping function, and should not mechanically apply the Daubert factors to testimony as if they

are a “definite checklist or test.”).

        The proponent of expert testimony “must come forward with evidence from which the court

can determine that the proffered testimony is properly admissible.” Md. Cas. Co. v. Therm-O-Disc,

Inc., 137 F.3d 780, 783 (4th Cir. 1998); see also Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199

(4th Cir. 2001) (“The proponent of the testimony must establish its admissibility by a preponderance

of proof.” (citing Daubert, 509 U.S. at 592 n.10)).

        A.      Plaintiff’s Motion in Limine to Exclude or Limit the Testimony of Dr. C. Neal Ellis

        Plaintiff argues that Defendants’ colorectal expert, Dr. C. Neal Ellis, has rendered several

opinions that are unreliable and therefore inadmissible because they constitute ipse dixit or “because

I say so” testimony. (Docket 168 at 10.) In particular, Plaintiff seeks to exclude three of Dr. Ellis’s

opinions and two demonstrative surgeries he performed in anticipation of testifying. The three

opinions are: (1) that the stapler’s safety must have been inadvertently or prematurely dislodged,

whether by a nurse pre-insertion or by Dr. Jain during the course of dialing the stapler out of the

“green zone” to release extraneous tissue;4 (2) that Drs. Jain and Maxwell would not have been able


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  Plaintiff points out that Dr. Ellis’s report and deposition propose separate possibilities for the
premature or inadvertent discharge during the first attempted anastomosis on February 6, 2009. The
                                                                                     (continued...)

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to detect staples in Ms. Hershberger following the first stapler firing without an endoscope; and (3)

that Drs. Jain and Maxwell breached the applicable standard of care when they incorporated part of

Ms. Hershberger’s bladder in the attempted anastomosis during the second firing on February 6,

2009. In attacking these opinions as ipse dixit testimony, Plaintiff argues that because Dr. Ellis

discredits some of the operative notes and testimony given by Drs. Jain and Maxwell, his opinions

are based on “poor expert methodology.” (Docket 168 at 12.) Defendants respond that Dr. Ellis’s

opinions are based on his expertise and experience as a colorectal educator and practitioner and that

he relies largely on CT scans depicting the state of Ms. Hershberger’s abdomen a month after the

surgeries to formulate his opinions. (Docket 219 at 6-8.)

        To the extent Dr. Ellis addresses the treating surgeons’ reports, he identifies what, in his

opinion, are inconsistencies or impossibilities in their accounts of the February 2009 surgeries.

Defendants state: “Plaintiffs have not identified any legitimate flaw in [Dr.] Ellis’s methodology.

Rather, they argue that this expert testimony is inadmissible because it disagrees with the doctors

that performed the procedure . . . .” (Id. at 7.) Defendants are correct. In formulating their opinions,

expert witnesses may be called upon to sift through conflicting testimony and data to arrive at an

opinion of the most likely course of events. Such determinations of judgment, provided they are

well-reasoned and explained, do not render expert testimony inadmissible. Upon review of the

parties’ respective arguments and the evidence submitted to the Court in support thereof, the Court


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 (...continued)
report states that in Dr. Ellis’s opinion, Dr. Jain fired the stapler outside the green zone, presumably
by dialing the stapler out of the green zone to release extraneous tissue, the safety being previously
released by Dr. Jain. (Docket 333-5 at 3.) At his deposition, Dr. Ellis suggested that perhaps a nurse
or surgical assistant had released the safety, or that Dr. Jain may have inadvertently released the
safety prior to or during insertion of the stapler, such that the staples were discharged at some point
before being mated with the anvil. Both opinions will be considered for purposes of this Order.

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is satisfied that Dr. Ellis’s expert opinions regarding the origin of the staples at six to seven

centimeters from the anal verge are based upon sufficient facts and are the product of reliable

principles and methods. Dr. Ellis’s choice to credit some facts contained in the treating physicians’

reports and testimony but not other facts is an issue for cross-examination, not a threshold question

of admissibility.5 Although a factual dispute exists which may serve to discredit Dr. Ellis’s opinion,

such dispute may be brought out at trial by Plaintiff through cross-examination and the presentation

of contrary evidence, namely the treating physicians’ recollection of the surgery.

        Dr. Ellis also opines that the treating physicians would have been unable to see any staples

from the first firing without the use of an endoscope, which all parties agree was not utilized.

Plaintiff seeks exclusion of this opinion because “Dr. Ellis admitted that in . . . demonstrative

surgeries on pigs, he was able to locate and remove at least on staple without using an endoscope.”

(Docket 168 at 12.) To formulate his opinion regarding the need for an endoscope, Dr. Ellis states:

        [I]t is more likely than not that the surgeons would not have been able to see the
        staples because: (a) the staples are very small and thin; (b) once the tissue is cut and
        the stapler is removed, the rectum retracts and would close over the staples; and (c)
        without properly formed staples to control bleeding, the bleeding from the cut edges
        of the bowel would have obscured the staples. Under these three conditions, it would
        be extremely difficult to see staples inside the patient’s rectum.

(Docket 333-5 at 4.) Thus, Dr. Ellis draws on his knowledge of and experience with colorectal

surgery and circular staplers, including the one at issue in this case, to formulate his opinion

regarding the staples’ visibility. The mere fact that Dr. Ellis’s demonstrative surgery, which is not


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   The Court notes that Dr. Ellis’s choices to discredit some testimony and data from the treating
physicians appears well-founded. For example, Dr. Ellis discredits the testimony that no breakaway
washer was present in the stapler at issue. His basis for this opinion is testimony given by the
treating physicians that the stapler achieved a complete cut of Ms. Hershberger’s bowel. In Dr.
Ellis’s expert opinion, those two facts are mutually exclusive; he explains why; and he concludes
that, in his opinion, a breakaway washer was probably present but overlooked.

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meant to precisely replicate the Hershberger surgery, yielded results contrary to his opinion is

inconsequential. The opinion will not be excluded.

        Plaintiff further seeks to exclude Dr. Ellis’s opinion regarding the standard of care applicable

to the treating surgeries on the basis that Dr. Ellis has a pending malpractice suit against him in

which he disagrees with the allegation that he breached the standard of care applicable to that

procedure. In Plaintiff’s own words, Dr. Ellis’s opinion should be dismissed because he “seeks to

hold Dr. Maxwell and Dr. Jain to the ‘do as I say, not as I do’ standard of care.” (Docket 168 at 12.)

Defendants are correct to retort that the procedure for which Dr. Ellis is being sued is a separate

surgery from the one at issue in this case. Apart from this rationale, whether or not Dr. Ellis

breached the standard of care in a separate procedure is irrelevant to the admissibility of Dr. Ellis’s

opinion.

        Finally, Plaintiff seeks to exclude two demonstrative surgeries conducted by Dr. Ellis on the

basis that they are too dissimilar to the first surgery on February 6, 2009, to be admissible. (Docket

168 at 12-14.) According to Plaintiff, the dissimilarities include: (1) Dr. Ellis fired the stapler higher

in the demonstration pig’s pelvis than was the case in the Hershberger surgeries; (2) Dr. Ellis dialed

the stapler into the high end of the green zone, rather than the middle of the green zone, as Dr. Jain

claims to have done; and (3) Dr. Ellis dialed the stapler out of the green zone after removing the

safety. (Id. at 13.) In response, Defendants argue that the demonstrations are not meant to recreate

or re-enact the first surgery on February 6, 2009; instead, the demonstrations are meant to illustrate

that the stapler at issue will perform in a certain manner when manipulated in certain ways,

consistent with Dr. Ellis’s opinion of the most likely sequence of events. (Docket 219 at 10-11.)




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       “[D]emonstrations of experiments used to illustrate the principles used in forming an expert

opinion are not always required to adhere strictly to the circumstances of the events at issue in the

trial.” Gladhill v. Gen. Motors Corp., 743 F.2d 1049, 1051 (4th Cir. 1984) (citing Brandt v. French,

638 F.2d 209, 212 (10th Cir. 1981)). In other words, substantial similarity is not a relevant

consideration in all circumstances. However, “when the demonstration is a physical representation

of how [a device] behaves under given conditions, those conditions must be sufficiently close to

those involved in the [incident] at issue to make the probative value of the demonstration outweigh

its prejudicial effect.” Id. at 1052; see also Chase v. General Motors Corp., 856 F.2d 17, 19-20 (4th

Cir. 1988). The Fourth Circuit has also held that “[a]lthough there is a fine line between a recreation

and an illustration, the practical distinction ‘is the difference between a jury believing that they are

seeing a repeat of the actual event and a jury understanding that they are seeing an illustration of

someone else’s opinion of what happened.’” Hinkle v. City of Clarksburg, 81 F.3d 416, 425 (4th Cir.

1996) (quoting Datskow v. Teledyne Continental Motors Aircraft Prods., 826 F. Supp. 677, 686

(W.D.N.Y. 1993)). Based on the parties’ representations of the content of Dr. Ellis’s video

demonstrations, the Court is unable to hold them inadmissible for failing to meet the substantial

similarity requirement set forth above. Furthermore, provided the jury is adequately instructed on

the nature of the demonstrations as illustrations of Dr. Ellis’s expert opinions, the Court perceives

no admissibility problems. Plaintiff’s arguments are better suited for cross-examination. The

motion as to Dr. Ellis is DENIED in its entirety.

       B.       Defendants’ Motion in Limine to Limit the Testimony of Dr. Damian Maxwell

       Defendants seek to limit the testimony of Dr. Damian Maxwell, the attending surgeon during

Ms. Hershberger’s February 2009 surgeries, “to exclude any opinion that the staples located at 6-7


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centimeters from the anal verge were part of the second firing of the stapler.” (Docket 171 at 2.)

The motion in limine appears limited to this single opinion. Defendants argue that Dr. Maxwell’s

anticipated testimony qualifies as expert testimony rather than treating physician testimony because

Dr. Maxwell did not observe any staples inside Ms. Hershberger’s abdomen during the February

2009 surgeries. (Docket 229 at 2-3.) Proceeding from this premise, Defendants continue to argue

that Dr. Maxwell’s expert opinions are directly contrary to the CT scans in several respects, as well

as indisputable knowledge of human female anatomy. Plaintiff responds that Dr. Maxwell’s

testimony is indeed that of a treating physician rather than an expert witness. (Docket 194 at 8.)

The rationale for Plaintiff’s argument is simple: Dr. Maxwell’s testimony is derived from his

personal observations during the course of treating Ms. Hershberger. (Id.) To the extent Dr.

Maxwell is considered an expert witness, and Defendants’ assertion that his opinions are contrary

to the “objective evidence” in the case therefore becomes relevant, Plaintiff contends that there is

a factual dispute as to what the CT scans depict and the origin of the pertinent staples. (Id.)

         After considering the evidence presented in the parties’ briefing and the record,6 it appears

to the Court that Dr. Maxwell’s opinion regarding the origin of the staples located at six to seven

centimeters from Ms. Hershberger’s anal verge is a product of his experience and observations in

the role of treating physician. The simple fact that Dr. Maxwell never visually observed staples

deploy at six to seven centimeters from the anal verge does not require a finding that Dr. Maxwell’s

opinion is expert testimony, as Defendants suggest. Dr. Maxwell’s testimony is comprehensive as

to the February 2009 surgeries (as well as the two other surgeries), and based on his observations

in their entirety, a conclusion that the relevant staples were deposited from the second firing rather


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    Plaintiff decided not to present Dr. Maxwell at the January 19, 2012, hearing.

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than the first is entirely reasonable. More specifically, Dr. Maxwell stated that Dr. Jain maneuvered

and discharged the stapler appropriately during the first stapling, that he inspected the staple site

immediately following the stapling, and that he observed no staples (formed or unformed) at that

time. Based on those observations and his first-hand knowledge that only two staplers were

discharged in February 2009, Dr. Maxwell is able to opine that the staples in Ms. Hershberger at six

to seven centimeters from the anal verge resulted from the second stapler firing, which he knows

(first hand) to have deposited staples in Ms. Hershberger’s gastrointestinal tract. Pursuant to the

record before the Court, then, Dr. Maxwell’s testimony on this point is not expert in nature. See Fed.

R. Evid. 701 (lay testimony includes, inter alia, “opinions . . . rationally based on the witness’s

perceptions”).

        Moreover, even assuming Dr. Maxwell’s opinion is properly regarded as expert testimony,

Defendants’ arguments must fail. The CT scans are, of course, objective evidence in a sense: they

present a relatively accurate and reliable depiction of Ms. Hershberger’s body on the date the scans

were conducted.      However, to further assert, as Defendants do, that one expert witness’s

interpretation of the scans is objective and irrefutable evidence, such that any differing interpretation

must be unreliable to the extent of inadmissibility, goes too far. CT scans are often difficult to

“read” or interpret (hence the need for expert testimony), and physicians may disagree as to what

a given CT scan depicts. Defendants’ argument is, at base, a bald assertion that Dr. Maxwell’s

opinion regarding the origin of the staples located six to seven centimeters from the anal verge may

not be considered by a jury because Defendants’ experts believe the CT scans to be contradictory

evidence (although Plaintiff’s radiologist disagrees on multiple grounds). The Court will not

exclude Dr. Maxwell’s opinion on this point for such a reason. “[T]he trial court’s role as


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gatekeeper is not intended to serve as a replacement for the adversary system.” Fed. R. Evid. 702,

advisory committee note to 2000 amends. (citing United States v. 14.38 Acres of Land Situated in

Leflore County, Miss., 80 F.3d 1074, 1078 (5th Cir. 1996)). Instead, “[v]igorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof are the traditional

and appropriate means of attacking shaky but admissible evidence.” Daubert, 509 U.S. at 595. Dr.

Maxwell’s opinions, whether lay or expert, are fertile ground for cross-examination and the

presentation of contrary evidence. The motion to limit his testimony is DENIED.

       C.      Defendants’ Motion in Limine to Limit the Testimony of Yadin David

       Defendants seek to exclude Plaintiff’s manufacturing defect expert, Yadin David, on two

grounds. First, Defendants argue that Dr. David fails to draw on his education and experience as

a biomedical engineer in formulating his opinions, which constitute ipse dixit testimony. Second,

they argue that Dr. David’s opinion that Ms. Hershberger’s surgery was unsuccessful due to a

manufacturing defect is contradicted by “objective” radiographic evidence. (Docket 174 at 8-12.)

Dr. David was not offered at the hearing on these motions, and the Court is therefore confined to

rely on the briefing related to Defendants’ motion in limine and Dr. David’s reports in executing its

role as gatekeeper. Dr. David’s supplemental report discloses the following opinions in this case:

       As they pertain to the facts of this case, my opinions are as follows: First, Ethicon
       Endo-Surgery, Inc. (“Ethicon”) manufactured and marketed the PROXIMATE ILS
       Curved Intraluminal Stapler device that was not reasonably safe for its intended use
       and presented an unreasonable biomedical engineering risk in connection with its use
       in Sandra Hershberger’s surgery, particularly with respect to the lack of staples in the
       stapler. The Ethicon device was manufactured and marketed with defects and failed
       to warn potential end users about its defective state and the risks resulting from its
       use under this condition. Ethicon failed to conduct itself as a reasonably prudent
       manufacturer and distributor of medical devices.




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(Docket 333-3 at 3.) However, according to Plaintiff’s memorandum in response to the motion in

limine, Dr. David opines that “based upon the lack of staples in the stapler, the stapler was

defective.” (Docket 199 at 11.)

        At the outset, it must be noted that it is unclear to the Court whether Defendants seek to

exclude all of Dr. David’s testimony on the basis that he fails to assist the trier of fact under Rule

702, or whether they simply seek to exclude his opinion that, “based upon the lack of staples in the

stapler [reported by the treating physicians], the stapler was defective.” The motion in limine is

styled as one to limit the testimony of Dr. David, rather than to exclude Dr. David entirely, so the

Court will presume that Defendants do not seek to wholly exclude Dr. David.

        Defendants challenge the opinions (1) that a stapler without staples is defective and (2) that

this stapler had no staples when fired. The thrust of Defendants’ arguments is that Dr. David’s

opinions fail to draw upon his expertise or experience as a biomedical engineer, and that they not

only fail to assist the trier of fact, they infringe on the province of the jury to decide from legitimate

testimony whether the stapler was indeed unloaded and therefore defective. (Docket 174 at 6-8.)

In plain terms, Defendants argue that Dr. David simply credits the testimony of Drs. Jain and

Maxwell that no staples were present in the stapler at issue and, regurgitating Ethicon’s own product

information, states that a stapler without staples is defective. It appears that Plaintiff (perhaps

inadvertently) agrees. Plaintiff’s responsive memorandum states:

        Dr. David opined that based upon the lack of staples in the stapler, the stapler was
        defective. . . . As a matter of common sense, a single use surgical stapler which is
        not loaded with staples is defective. There can be no dispute of that fact. . . . Dr.
        David’s opinion is exactly the same as that reflected in Defendant Ethicon’s
        engineering documents and the testimony of its corporate representatives—if a
        stapler is not loaded with staples, the stapler is defective.

(Docket 199 at 12.)

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       Defendants are correct. Dr. David’s opinion that a stapler without staples is defective does

not draw on any specialized knowledge, education, or experience as a biomedical engineer. As

Plaintiff plainly admits, his conclusion is a matter of common sense. The motion is GRANTED to

the extent it seeks to preclude Dr. David from testifying that “based upon the lack of staples in the

stapler [reported by the treating physicians], the stapler was defective.” The motion is further

GRANTED to the extent it seeks the exclusion of any opinion premised on Dr. David’s belief that

the first stapler contained no staples. Unlike the physician-experts in this case, Dr. David possess

no specialized knowledge, skill, expertise, or education that would permit him to reach a more

informed or helpful conclusion (than the jury) regarding what transpired in the relevant surgeries.

       Defendants also urge the Court to exclude Dr. David’s opinions because “abundant objective

evidence proves [Dr. David’s testimony] to be objectively wrong.” (Docket 174 at 9.) To the extent

this alternative basis for exclusion is not rendered moot by the Court’s rulings above, it is DENIED.

Conflicting interpretations of the radiographic images in this case will be presented to the jury, and

the Court will not, therefore, exclude testimony on the basis that one interpretation is more credible

or “objectively accurate” than the other. The motion as to Dr. David is GRANTED IN PART and

DENIED IN PART.

       D.      Defendants’ Motion in Limine to Limit the Testimony of Dr. James Sullivan

       Defendants next seek to exclude the opinion of Dr. James Sullivan, Plaintiff’s colorectal

surgery expert, that the staples located in Ms. Hershberger at approximately six to seven centimeters

from the anal verge resulted from the second surgery on February 6, 2009. (Docket 176 at 9-15.)

Defendants also seek to exclude any of Dr. Sullivan’s expert opinions related to any radiology




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imaging, as well as any opinion purporting to establish a causal link between alleged product defect

and Ms. Hershberger’s surgical infection. (Id. at 15-16.)

       1.      Staples at Six to Seven Centimeters

       Defendants make three arguments against the admissibility of Dr. Sullivan’s opinions

regarding the staples located at six to seven centimeters from the anal verge: (1) they were not timely

disclosed under Federal Rule of Civil Procedure 26(a)(2); (2) they are based upon an unreliable

source, namely Plaintiff’s radiology expert, Dr. Mark Younis; and (3) they are objectively wrong.

       Regarding Defendants’ first argument, Rule 26(e)(2) of the Federal Rules of Civil Procedure

provides that “[a]ny additions or changes to [an expert report under Rule 26(a)(2)(B) or expert

deposition] must be disclosed by the time the party’s pretrial disclosures under Rule 26(a)(3) are

due.” The Federal Rules provide that Rule 26(a)(3) disclosures “must be made at least 30 days

before trial” unless the court orders otherwise. Fed. R. Civ. P. 26(a)(3)(B). The Court’s August 17,

2010, scheduling order provides that Rule 26(a)(3) disclosures may be supplemented until the

conclusion of the final settlement meeting on July 6, 2011. (Docket 6 at 2-3.) According to

Plaintiff, she complied with the Federal Rules by timely supplementing her expert disclosures on

May 31, 2011. (See Docket 114, 213-9.) That document states:

       Dr Sullivan is an expert who will testify about the foreseeable and necessary
       additional medical treatment required by Sandra Hershberger as a result of the
       malfunction of the Ethicon stapler; whether or not the treating physicians breached
       the standard of care; and with respect to the surgical procedures at issue, including
       the locations at which staples were used and/or removed. Dr. Sullivan will testify
       consistent with his February 14, 2011, March 14, 2011, and April 1, 2011
       disclosures, reports, and attachments thereto, as well as his May 5, 2011 deposition
       (including any forthcoming errata) and exhibits - all of which are herein incorporated
       by reference.




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(Docket 213-9 at 2.) Plaintiff’s supplemental disclosures were timely. Thus, the Court agrees with

Plaintiff, and accordingly DENIES Defendants’ motion in limine to the extent it seeks exclusion of

Dr. Sullivan’s testimony on the basis of untimely disclosure under Rule 26.7

        Defendants also argue that Dr. Sullivan’s opinions related to the staples at six to seven

centimeters from the anal verge are based on unreliable source data—namely, Plaintiff’s radiology

expert, Dr. Younis. Defendants state that “Plaintiff’s [sic] . . . acknowledge that Dr. Younis’s

opinions regarding the staple lines [including staples at six to seven centimeters from the anal verge]

were incorrect.” (Docket 176 at 11.) Defendants argue that because Dr. Younis has filed an errata

sheet to substantively correct the contents of his deposition, “Dr. Sullivan’s opinions, originating

from his conversation with Dr. Younis, are thus based upon an unreliable source.” (Id.) In short,

Defendants argue that Dr. Younis did not know what he was talking about when he spoke with Dr.

Sullivan immediately before Dr. Sullivan’s deposition, and because Dr. Sullivan relied upon Dr.

Younis’s allegedly faulty knowledge of the procedure at issue, his opinions related to the staples at

six to seven centimeters from the anal verge are also unreliable and must be ruled inadmissible at

trial under Daubert.

        Defendants’ argument assumes that Dr. Sullivan’s opinions related to the staples located at

six to seven centimeters derive entirely from Dr. Younis’s deposition testimony and the pair’s

telephone conversation prior to Dr. Sullivan’s deposition. However, Dr. Sullivan stated at the

hearing on these motions that he relied on medical records of Plaintiff’s hospital stay, the relevant


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  Defendants also argue they were “sandbagged” at Dr. Sullivan’s deposition because his opinions
related to these staples were not previously disclosed. (Docket 176 at 10.) To the extent Defendants
may have been prejudiced by this fact, which appears questionable based on thorough questioning
of Dr. Sullivan on the subject at his deposition, they were free to seek leave to depose Dr. Sullivan
a second time.

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operative notes and radiographic reports, as well as his conversation with Dr. Younis immediately

prior to Dr. Sullivan’s deposition. His expert disclosures confirm that he relied, inter alia, upon

“Ms. Hershberger’s imaging and reports” in formulating his opinions. (Docket 333-11 at 1.) Dr.

Sullivan also stated that, in his conversation with Dr. Younis, “Dr. Younis was describing what he

saw on a CAT scan . . . [and][w]hat I was offering was the anatomy as to what’s descending colon,

what’s rectal stump, what’s sigmoid colon, and kind of explaining in my words the actual

operation.” Dr. Sullivan further stated that Dr. Younis reported finding three sets of staples in Ms.

Hershberger, just as Dr. Sullivan expected from conducting his independent, post facto differential

diagnosis, although Dr. Younis mistakenly referred to the set of staples appearing at the top of the

rectum as appearing in the descending colon. When pressed for a concise explanation of the

disagreement between Dr. Younis and himself, Dr. Sullivan stated:

       We agreed on the location of the staples in our conversation, we both agreed, but in
       [Dr. Younis’s] early description we had a slight disagreement, meaning we—I guess
       using anatomic—he said descending colon and I was saying distal bowel at the rectal
       stump. In other words, the part of the colon just above the rectum is the sigmoid, not
       the descending colon [as Younis was referring to it].

Based on the above information, the Court cannot find, as a matter of law, that all of Dr. Sullivan’s

opinions related to the staple line at six to seven centimeters from the anal verge are inadmissible

due to his interactions with Dr. Younis, who has allegedly changed his opinions in the meantime.

Such attacks on the veracity and accuracy of Dr. Younis’s opinions, and Dr. Sullivan’s by extension,

are appropriately conducted on cross-examination.

       Defendants’ third argument against Dr. Sullivan’s opinions regarding the staples at six to

seven centimeters from the anal verge is identical to an argument lodged against Dr. Maxwell. The

CT scans in this case are the “smoking gun,” Defendants say, constituting objective and irrefutable


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evidence that the first stapler was loaded. However, the radiologists’ opinions in this case are

directly opposed to one another, and the Court is unconvinced that the CT scans so clearly depict

unformed staples, as Defendants assert. Additionally, the colorectal surgeons dispute whether the

second firing can be responsible for the staples in both Ms. Hershberger’s bladder and rectum. The

resolution of these disputes is properly left to the jury, as the Court has determined none of the

testimony to be inadmissible under Daubert.

        2.     Radiology Opinions

        Defendants next move to exclude “any opinion testimony of Dr. Sullivan based upon the

radiology imaging.” (Docket 176 at 15.) The entirety of Defendants’ motion to exclude Dr.

Sullivan’s opinions related to the CT scans8 is as follows:

        Rule 702 of the Federal Rules of Evidence permits opinion testimony by experts
        when the witness is “qualified as an expert by knowledge, skill, experience, training,
        or education.” By Dr. Sullivan’s own admission, he is a “cut and sew surgeon”
        without expertise in radiology. Dr. Sullivan clearly does not qualify as an expert in
        radiology under Rule 702 . . . .

(Id.) Contrary to Defendants’ argument, certified radiologists are not the only physicians to possess

“knowledge, skill, experience, training, or education” relating to radiographic evidence. Cf.

Cannelton Indus. v. Frye, 93 F. App’x 551 (4th Cir. 2004) (upholding ALJ’s finding that board

certified radiologists were better qualified to read x-rays than non-radiologist physicians). At the

hearing, Dr. Sullivan testified that he reviews x-rays and CT scans in practicing colorectal medicine

on a daily basis. To the extent Defendants believe the opinion of their radiologist to be more




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  The Court is unaware of whether such opinions exist, as Dr. Sullivan did not testify at the hearing
regarding any interpretation of the CT scans he may have rendered.

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accurate and his credentials more impressive than Dr. Sullivan’s, they are welcome to demonstrate

such to the jury.

       3.       Surgical Infection Causation

       Finally, Defendants move to exclude Dr. Sullivan’s opinion that the alleged product defect

and related complications were responsible for Ms. Hershberger’s post-surgical infection on two

grounds. First, Defendants argue that the opinion must be excluded because Dr. Sullivan has cited

no published authority to support his opinions. Second, Defendants argue that because Dr. Sullivan

“cannot testify to a reasonable degree of medical probability that [increased surgery duration and

contamination risks] made it more likely than not that Ms. Hershberger would suffer a post-surgical

infection, this opinion should be precluded by [the] Court.” (Docket 176 at 16.) As to the former

argument, Rule 702 does not impose a rigid requirement that expert opinions be supported by

published literature. The advisory committee’s note to Rule 702 suggests a number of factors for

a district court to consider in assessing an expert’s reliability as part of its gatekeeping function,

including: (1) whether a method consists of a testable hypothesis; (2) whether the method has been

subject to peer review; (3) the known or potential rate of error; (4) the existence and maintenance

of standards controlling the technique’s operation; (5) whether the method is generally accepted.

See Fed. R. Evid. 702, advisory committee note to 2000 amends. While Dr. Sullivan mentioned in

his deposition that “the literature” supports his opinion that increased surgery duration and an

increase in risk classification lead to increased risk of surgical site infection, he was unable to cite

to specific articles or published authorities. (Docket 176 at 6.)

       Contrary to Defendants’ argument, an expert’s inability to point to published literature

supporting his opinions will not render those opinions inadmissible on reliability grounds. Such was


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the holding in Daubert itself. 509 U.S. at 589 (holding that Rule 702 overruled the requirement that

an opinion must gain general acceptance in order to qualify as expert testimony; instead general

acceptance and peer review are merely two factors to be considered). In this case, Dr. Sullivan

stated that he based his opinion regarding Ms. Hershberger’s surgical site infection not only on “the

literature,” but also upon his education and experience as a colorectal surgeon. Dr. Sullivan stated

that he treats patients on a daily basis as a “cut and sew surgeon,” and has done so for over twenty

years; his credentials as a board certified colorectal surgeon with an internship, residency, and

fellowship following medical school remain unchallenged; he testified that risk classifications and

surgery duration are taught as risk factors to surgical site infection in standard medical education;

and he provided the Court with a well-reasoned explanation of why duration and risk classification

impact the likelihood of a patient developing a post-operative infection. Based on the foregoing

considerations, the Court concludes that Dr. Sullivan’s knowledge and experience render his

testimony reliable and adequately demonstrate that his testimony is based on good grounds.9 See

generally Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 405 (3d Cir. 2003) (holding

the same in similar circumstances).




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  The Court is cognizant that the fact “that an expert may be qualified by experience does not mean
that experience, standing alone, is a sufficient foundation rendering reliable any conceivable opinion
the expert may express.” United States v. Frazier, 387 F.3d 1244, 1261 (11th Cir. 2004) (emphasis
in original). As the advisory committee notes to Rule 702’s 2000 amendments explain, “[i]f the
witness is relying solely or primarily on experience, then the witness must explain how that
experience leads to the conclusion reached, why that experience is a sufficient basis for the opinion,
and how that experience is reliably applied to the facts.” See Fed. R. Evid. 702, advisory committee
notes to 2000 amends. Based on his testimony at the hearing, and giving consideration to the advice
in the advisory committee’s notes, the Court is unwilling to exclude Dr. Sullivan’s testimony for
lack of published literature in support.

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       As to the second argument Defendants raise regarding Dr. Sullivan’s infection-related

testimony, the proper standard for expert testimony on the subject of causation was enunciated in

Syllabus point 3 of the West Virginia Supreme Court’s opinion in Hovermale v. Berkeley Springs

Moose Lodge No. 1483, 271 S.E.2d 335 (1980): “Where a physician is testifying as to the causal

relation between a given physical condition and the defendant’s negligent act, he need only state the

matter in terms of a reasonable probability.” See also Syl. pt. 1, Pygman v. Helton, 134 S.E.2d 717

(1964) (“Medical testimony to be admissible and sufficient to warrant a finding of proximate cause

of an injury is not required to be based upon a reasonable certainty that the injury resulted from the

negligence of the defendant. All that is required to render such testimony admissible and sufficient

is that it should be of such character as would warrant a reasonable inference that the injury in

question was caused by the negligent act or conduct of the defendant.”). In their reply brief,

Defendants argue that it is dispositive that Dr. Sullivan “did not state to a reasonable degree of

medical probability that such increased risk was a substantial factor in causing Ms. Hershberger’s

surgical site infection.” (Docket 246 at 9.) However, at the hearing on these motions, Dr. Sullivan

opined that the increased risk of infection caused by the alleged product defect and related

complications was a substantial factor in leading to Ms. Hershberger’s post-surgical infection. Dr.

Sullivan also stated that he holds that opinion to a reasonable degree of medical certainty as a

colorectal surgeon. Following West Virginia precedent, the Court declines to exclude Dr. Sullivan’s

testimony on this basis. The motion in limine regarding Dr. Sullivan is DENIED in its entirety.




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       E.     Plaintiff’s Motion in Limine to Exclude the Testimony of Dr. Jeffrey Brandon

       At the January 19, 2012, hearing, counsel for the plaintiffs orally moved to withdraw the

Motion to Exclude the Testimony of Dr. Jeffrey Brandon [Docket 293]. The motion to withdraw

is GRANTED, and the Clerk is DIRECTED to terminate the motion in limine as to Dr. Brandon.

                                     III. CONCLUSION

       The motions in limine as to Drs. Ellis, Maxwell, and Sullivan [Dockets 166, 170, and 175]

are DENIED in their entirety. The motion in limine as to Dr. David [Docket 173] is GRANTED

IN PART and DENIED IN PART.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                            ENTER:        February 15, 2012



                                            _________________________________________
                                            THOMAS E. JOHNSTON
                                            UNITED STATES DISTRICT JUDGE




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